Case 5:04-cv-01604-F Document 296 Filed 02/13/09 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

MARQUIS FURNITURE, INC.,
Plaintiff,
V. Case No. CIV-04-1604-F
MATHIS BROS. FURNITURE CO., INC., MATHIS
BROS. OKLAHOMA CITY, LLC, MATHIS
EVANS, LLC, MATHIS HOLDING, INC.,
BROYHILL FURNITURE INDUSTRIES, INC.,
and LA-Z-BOY, INC.,
Defendants.

BROYHILL FURNITURE INDUSTRIES, INC.,
Counter-Claimant,
Vv.

MARQUIS FURNITURE, INC.,
Counter-Defendant,
and

GARY D. BAUGH and MARY BAUGH,
Third-Party Defendants.

Nee eee ee oe ae ae ae ae ae Se ae

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Plaintiff, Marquis Furniture, Inc., Defendant, Broyhill Furniture Industries, Inc., and
Third-Party Defendant, Gary Baugh, hereby stipulate and agree that the above-captioned

cause be dismissed with prejudice, with each party to bear its own costs and attorney’s fees.
Case 5:04-cv-01604-F Document 296 Filed 02/13/09 Page 2 of 3

Dated this 13th day of February, 2009.

s/ Eric S. Eissenstat
Eric S. Eissenstat, (OBA #10282)
Steve Stephens (OBA #10479)
Brooks A. Richardson (OBA #18133)
Nicholas V. Merkley (OBA #20284)
FELLERS, SNIDER, BLANKENSHIP,
BAILEY & TIPPENS
Attorneys for Plaintiff Marquis Furniture, Inc.
and Third-Party Defendant Gary Baugh
100 North Broadway, Suite 1700
Oklahoma City, OK 73102-8820
Telephone: (405) 232-0621
Facsimile: (405) 232-9659
E-mails: eeissenstat@fellerssnider.com
sstephens@fellerssnider.com
brichardson@fellerssnider.com
nmerkley@fellerssnider.com

s/ Timothy A. Carney
(Signed by Filing Attorney with Permission of Attorneys for
Defendant Broyhill)

James M. Sturdivant (OBA #8723)

Timothy A. Carney (OBA #11784)

Emiline T. Ebrite

GABLE & GOTWALS

Attorneys for Defendant Broyhill Furniture

Industries, Inc.

100 West Sth Street

1100 ONEOK Plaza

Tulsa, OK 74103-4217

Telephone: (918) 595-4800

Facsimile: (918) 595-4990

E-mails: jsturdivant@gablelaw.com
tcarney@gablelaw.com
tebrite@gablelaw.com

Case 5:04-cv-01604-F Document 296 Filed 02/13/09 Page 3 of 3

CERTIFICATE OF SERVICE

g I hereby certify that on February 13, 2009, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for (1) filing and (2)
transmittal of a Notice of Electronic Filing to the following ECF registrants: David A.
Burrage, Michael Burrage, Sean Burrage, Allen W. Campbell, Timothy A. Carney, James N.
Chaney, Emiline Ebrite, John N. Hermes, Drew Neville, Jr., Kurt M. Rupert, Alix L. Samara,
Larry J. Saylor, Matthew L. Standard, James M. Sturdivant, Rick L. Warren, Ryan S. Wilson,
and Leasa Stewart.

Oo I hereby certify that I served the attached document by regular U.S. Mail,
postage prepaid, on the following, who are not registered participants of the ECF System:
N/A.

s/ Eric S. Eissenstat
Attorney for Plaintiff Marquis Furniture, Inc. and
Third-Party Defendant Gary Baugh

467804. 1
